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                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF DELAWARE

      IN RE INTEL CORP. MICROPROCESSOR                         MDL No. 05-1717-LPS
      ANTITRUST LITIGATION,


      PHIL PAUL, on behalf of himself and all others           C.A. No. 05-485-LPS
      similarly situated,
                                                               CONSOLIDATED ACTION
                                     Plaintiffs,

                   v.

      INTEL CORPORATION,

                                     Defendant.



             Pursuant to Rule 41 of the Federal Rules of Civil Procedure and the parties' Joint

      Stipulation of Dismissal, the Court orders that all claims brought by Plaintiffs be dismissed in

     their entirety with prejudice,·each party to bear its own costs. The United States District Court

      for the District of Delaware shall retain jurisdiction over the implementation, enforcement, and

     performance of the Settlement Agreement between the parties, and shall have exclusive

     jurisdiction over any suit, action, proceeding, or dispute arising out of or relating to the

      Settlement Agreement or th~pplicability of the Settlement Agreement.

      SO ORDERED this       \I'""
                               day of September, 2015.                          ,

                                               L-eA~(V:
                                            United States\District Court Judge
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